                                                            Case 2:17-cr-00310-RFB-VCF          Document 57        Filed 06/22/18     Page 1 of 4




                                                        1    RICHARD E. TANASI, ESQ.
                                                             Nevada Bar No. 9699
                                                        2    TANASI LAW OFFICES
                                                        3    601 S. Seventh Street, 2nd Floor
                                                             Las Vegas, NV 89101
                                                        4    Telephone: (702) 906-2411
                                                             Facsimile: (866) 299-5274
                                                        5    Email: rtanasi@tanasilaw.com
                                                        6    Attorney for Defendant

                                                        7
                                                                                        UNITED STATES DISTRICT COURT
                                                        8
                                                                                                DISTRICT OF NEVADA
                                                        9
                                                             UNITED STATES OF AMERICA, |                                 2:17-cr-00310-RFB-VCF
                                                       10
                                                                                       |
                                                             Plaintiff,                |                           STIPULATION AND ORDER
TANASI LAW OFFICES




                                                       11
                                                                                       |                           TO CONTINUE SENTENCING
                     702-906-2411 • Fax 866-299-5274




                                                       12                                                          HEARING (First Request)
                       601 S. Seventh St., 2nd Floor
                         Las Vegas, Nevada 89101




                                                             v.                                   |
                                                       13                                         |
                                                             JOHNSIE NELSON,                      |
                                                       14                                         |
                                                             Defendant.                           |
                                                       15
                                                       16           IT IS HEREBY STIPULATED AND AGREED, by and between the United States of

                                                       17    America, by and through Susan Cushman, United States Attorney, JOHNSIE NELSON, by and
                                                       18
                                                             through her attorney, Richard E. Tanasi, Esq., that the Sentencing Hearing in the above-
                                                       19
                                                             captioned matter, now scheduled for July 19, 2018, at the hour of 10:00 a.m., be vacated and
                                                       20
                                                             continued to a time convenient for the Court after October 8, 2018.
                                                       21
                                                       22           Pursuant to General Order No. 2007-04, this Stipulation is entered into for the following

                                                       23    reasons:
                                                       24
                                                                    1.      The parties need more time to prepare for sentencing, specifically in that
                                                       25
                                                             Defendant needs time to gather 18 USC 3553 related materials. Additionally, counsel for the
                                                       26
                                                             Defendant has two State capital cases set for September (State v. Brown and State v. Daniels).
                                                       27
                                                             State v. Brown is older and likely to go forward.
                                                       28


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                                                        1            2.     Ms. Nelson is out of custody and does not object to this continuance.
                                                        2            3.     The additional time requested herein is not sought for purposes of delay.
                                                        3
                                                                     4.     Additionally, denial of this request for continuance could result in a miscarriage
                                                        4
                                                             of justice.
                                                        5
                                                                     WHEREFORE, the parties respectfully request that this Honorable Court accept the
                                                        6
                                                             Stipulation and enter an Order as set forth below, continuing the sentencing hearing for date
                                                        7
                                                             convenient to the Court, after October 8, 2018.
                                                        8
                                                                     DATED this 21st day of June, 2018.
                                                        9
                                                       10
                                                             U.S. ATTORNEY’S OFFICE
TANASI LAW OFFICES




                                                       11
                     702-906-2411 • Fax 866-299-5274




                                                       12    /s/
                       601 S. Seventh St., 2nd Floor
                         Las Vegas, Nevada 89101




                                                             SUSAN CUSHMAN
                                                       13    501 Las Vegas Blvd., South
                                                             Suite 100
                                                       14    Las Vegas, NV 89101
                                                       15    Attorney for the UNITED STATES

                                                       16    TANASI LAW OFFICES
                                                       17
                                                       18
                                                             /s/
                                                       19    RICHARD E. TANASI, ESQ.
                                                             601 S. Seventh Street, 2nd Floor
                                                       20    Las Vegas, NV 89101
                                                             Attorney for Defendant
                                                       21
                                                       22    ///

                                                       23    ///
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                                                            Case 2:17-cr-00310-RFB-VCF         Document 57       Filed 06/22/18     Page 3 of 4




                                                        1
                                                                                       UNITED STATES DISTRICT COURT
                                                        2
                                                                                              DISTRICT OF NEVADA
                                                        3
                                                             UNITED STATES OF AMERICA, |                                2:17-cr-00310-RFB-VCF
                                                        4                              |
                                                                     Plaintiff,        |                         ORDER ON STIPULATION
                                                        5                              |
                                                             v.                        |
                                                        6    JOHNSIE NELSON,           |
                                                                                       |
                                                        7           Defendant.         |
                                                        8
                                                                    This matter coming before the Court on Stipulation to Continue Sentencing Hearing, the
                                                        9
                                                             Court having considered the matter, and good cause showing, the Court accepts the Stipulation.
                                                       10
                                                                    WHEREFORE, IT IS HEREBY ORDERED, that the Sentencing Hearing in the
TANASI LAW OFFICES




                                                       11
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                                                       12    above-captioned matter, now scheduled for July 19, 2018, at the hour of 10:00 a.m., be vacated
                       601 S. Seventh St., 2nd Floor
                         Las Vegas, Nevada 89101




                                                       13                     Thursday, October 11, 2018 at 2:00 PM
                                                             and continued to __________________________________.
                                                       14
                                                       15
                                                                                                                 __________________________________
                                                       16                                                        RICHARD F. BOULWARE, II
                                                                                                                 UNITED STATES DISTRICT JUDGE
                                                       17
                                                       18                                                        DATED: June 22, 2018.
                                                                                                                        ___________

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                                                        1
                                                        2                                    CERTIFICATE OF SERVICE
                                                        3           I HEREBY CERTIFY that on the 21st day of June, 2018, the undersigned served the
                                                        4    foregoing STIPULATION AND ORDER on all counsel of record herein by causing a true
                                                        5    copy thereof to be filed with the Clerk of Court using the CM/ECF system, which was served
                                                        6    via electronic transmission by the Clerk of Court pursuant to local order.
                                                        7
                                                        8
                                                        9                                          /s/
                                                                                                   An employee of TANASI LAW OFFICES
                                                       10
TANASI LAW OFFICES




                                                       11
                     702-906-2411 • Fax 866-299-5274




                                                       12
                       601 S. Seventh St., 2nd Floor
                         Las Vegas, Nevada 89101




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